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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

JOHN SABAL                                §
                                          §
      Plaintiff,                          §
v.                                        §
                                          §     Civil Action No. 4:23-CV-00551-O
                                          §
LIN WOOD                                  §
                                          §
      Defendant.                          §
______________________________________________________________________________

       DEFENDANT’s APPENDIX TO BRIEF IN SUPPORT OF MOTION TO
        DISMISS COMPLAINT FOR LACK OF PERSONAL JURISDICTION
______________________________________________________________________________


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DEFENDANT’S APPENDIX TO BRIEF IN SUPPORT OF MOTION TO
DISMISS COMPLAINT FOR LACK OF PERSONAL JURISDICTION AND IMPROPER VENUE             PAGE i
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Exhibit 1 – Affidavit of Lin Wood............................................................................. Appendix 001




                                                                  Respectfully submitted,



                                                                    /s/ John T. Wilson IV
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                                                                  LIN WOOD




DEFENDANT’S APPENDIX TO BRIEF IN SUPPORT OF MOTION TO
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                                CERTIFICATE OF SERVICE

       This is to certify that on this 4th day of August, 2023, a true and correct copy of the above
and foregoing document was served upon all counsel of record via the Court’s CM/ECF system in
accordance with the Federal Rules of Civil Procedure.

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                                                      /s/ John T. Wilson IV
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DEFENDANT’S APPENDIX TO BRIEF IN SUPPORT OF MOTION TO
DISMISS COMPLAINT FOR LACK OF PERSONAL JURISDICTION AND IMPROPER VENUE                      PAGE iii
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

JOHN SABAL                                §
                                          §
      Plaintiff,                          §
v.                                        §
                                          §     Civil Action No. 4:23-CV-00551-O
                                          §
LIN WOOD                                  §
                                          §
      Defendant.                          §
______________________________________________________________________________

           AFFIDAVIT OF LIN WOOD IN SUPPORT OF DEFENDANT’S
  MOTION TO DISMISS COMPLAINT FOR LACK OF PERSONAL JURISDICTION
______________________________________________________________________________

STATE OF GEORGIA               §
                               §
FULTON COUNTY                  §


       BEFORE ME, the undersigned authority personally appeared Lin Wood who after being

sworn upon his oath, deposed and said as follows:

       1.      My name is Lin Wood. I am over the age of twenty-one and competent in all

respects to make this affidavit. I have never been convicted of a felony or crime involving moral

turpitude. I am the Defendant in this lawsuit, and I have personal knowledge of the facts stated

herein and they are true and correct.

        2.      I am a citizen of South Carolina and have lived in Yemassee, South Carolina, since

February 2021. Prior to my recent retirement, I practiced law in Atlanta, Georgia, where I

maintained a residence. I do not use, possess, lease, or have any interest in any property in Texas.

        3.      I was licensed to practice law by the State Bar of Georgia in 1977. From that time

until my retirement on July 4, 2023, I have taken on many high-profile cases across the country.

________________________________________________________________________________________________________
AFFIDAVIT OF LIN WOOD                                                                       PAGE 1 OF 3


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       4.      During my 46-year career as an attorney, I recall handling only two matters in

Texas. However, those matters were over ten years ago and wholly unrelated to the allegations in

Plaintiff’s Complaint. I have never been licensed to practice law in Texas, and in the matters I

handled in Texas, I appeared pro hac vice. Moreover, I have never advertised my services in Texas.

       5.      My daily business and activities do not concern Texas. My only current connection

with Texas is my service as a director of #FightBack Foundation, Inc. (“#FightBack”), which is a

non-profit corporation incorporated in Texas. But while #FightBack maintains a registered agent

in Texas, #FightBack’s principal office and all corporate activities are conducted in Atlanta,

Georgia, and concern national issues. #Fightback uses a P.O. Box in Georgia as its mailing address.

       6.      I did not know Plaintiff resides in Texas prior to receiving a copy of Plaintiff’s

complaint. I learned of Plaintiff’s residence in Texas by reading Plaintiff’s complaint. My only

interactions with Plaintiff have been at my property in South Carolina, through online social media,

or through text messages. I have never traveled to Texas to meet with Plaintiff or attend any event

organized by Plaintiff.

        7.      The primary method by which I communicate with my national following is

through the social media and messaging platform, Telegram. I run a public channel on Telegram,

which anyone can follow or join free of charge. As such, anyone with internet access can view the

content I post. I currently have over 360,000 followers on Telegram. I do not know the vast

majority of my followers or where they live.

       8.      All of the events or actions that I reference in my Telegram posts that form the basis

of Plaintiff’s complaint occurred in South Carolina. In fact, the Patriot event that I refer to in the

Telegram posts cited by Plaintiff concerned an event that was scheduled to take place in South

Carolina.

________________________________________________________________________________________________________
AFFIDAVIT OF LIN WOOD                                                                       PAGE 2 OF 3


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